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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                           Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                                MOTION FOR SUMMARY JUDGMENT


            Pursuant to Fed. R. Civ. P. 56(a), and for the reasons set forth in the accompanying

     Memorandum in Support, Plaintiffs respectfully move the Court to grant summary judgment for

     Plaintiffs, holding that Plaintiffs have established as a matter of law that:

        •   Plaintiffs own, or have an exclusive license to, the rights under the Copyright Act to

            reproduce and distribute each of the copyrighted works identified in the Appendices to

            their respective declarations submitted in support of the Motion (“Plaintiffs’ Works”);

        •    Cox users directly infringed Plaintiffs’ Works;

        •   Cox is liable for contributory infringement of Plaintiffs’ Works; and

        •   Cox is liable for vicarious infringement of Plaintiffs’ Works.
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   Dated: August 30, 2019              Respectfully submitted,

                                       /s/ Scott A. Zebrak
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